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     IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                              PENNSYLVANIA


KENNETH FERENCE,                              )       CIVIL ACTION NO. 2:22-cv-797
                                              )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )
                                              )
ROMAN CATHOLIC DIOCESE                        )
OF GREENSBURG,                                )
                                              )
               Defendant.                     )


                                           COMPLAINT


                             I.     PRELIMINARY STATEMENT

       By this action, Plaintiff, Kenneth Ference, seeks lost wages and benefits, compensatory

and punitive damages, costs, and attorney’s fees because Defendant, Roman Catholic Diocese of

Greensburg, terminated his employment due to his sexual orientation, in violation of Title VII of

the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.

                                     II.     JURISDICTION

       1.      This Court has jurisdiction of this matter by virtue of 28 U.S.C. § 1331, in that

this is a civil action wherein the matter in controversy arises under the laws of the United States.

       2.      Venue is proper in this judicial district under 28 U.S.C. § 1391(b), in that this is a

civil action in which jurisdiction is not founded solely on diversity of citizenship, and the acts

constituting a substantial part of the events and omissions giving rise to the claims occurred in

the Western District of Pennsylvania.




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        3.       On November 15, 2021, Plaintiff filed a Charge of Discrimination with the EEOC

against the Defendant. On May 20, 2022, the EEOC issued a Notice of Right to Sue to Plaintiff.1

                                              III.     PARTIES

        4.       Mr. Ference is an adult individual who resides at 1400 Bailey Farm Road,

Greensburg, PA 15601. At the time of the incident complained of in this lawsuit and presently,

he was and is a citizen of the Commonwealth of Pennsylvania and the United States of America.

        5.       Roman Catholic Diocese of Greensburg is a Catholic diocese that has jurisdiction

over Armstrong, Fayette, Indiana, and Westmoreland counties. Its headquarters are located at

723 East Pittsburgh Street, Greensburg, PA 15601.

                                   IV.      STATEMENT OF CLAIM

        6.       Mr. Ference began working at Defendant's Aquinas Academy ("Aquinas") as a

sixth-grade teacher on August 23, 2021.

        7.       As part of the new-hire orientation, Ms. Ference had to complete several standard

employment forms.

        8.       He completed most of them on August 25, 2021, during a meeting with Maria

Cochenour, Aquinas's Business Manager.

        9.       Ms. Cochenour indicated that he would receive the medical insurance election

forms in an email from Defendant's main office.

        10.      Unbeknownst to Mr. Ference, Defendant sent those forms to his Aquinas email

address, which he did not have access to until September 2, 2021.




1
 Once the administrative requirements have been exhausted, Plaintiff intends to amend this Complaint to include
one additional count under the PHRA.
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       11.     Once Mr. Ference had access to his email, he completed an election to waive

group medical insurance on September 2nd, indicating that he is covered under his husband's

medical insurance.

       12.     Also, as part of his orientation, Mr. Ference completed Virtus training, which

included a program called Protecting God’s Children.

       13.     Those trainings concerned the prevention of child sexual abuse.

       14.     As a sixth-grade teacher, Mr. Ference reported to Kelly Watkins, Principal of

Aquinas Academy.

       15.     Because Mr. Ference is Lutheran, Ms. Watkins said that Defendant prohibited

him from providing religious education to its students.

       16.     According to Ms. Watkins, Mr. Ference's job responsibilities were to be entirely

secular, with all matters of religious education and rituals for the sixth-grade students to be

handled by Jennifer Davis, Aquinas's other six-grade teacher.

       17.     Ms. Watkins also asked Mr. Ference if he would be comfortable chaperoning the

students to church services.

       18.     Mr. Ference agreed, with the understanding that he would be at the services only

to monitor the students' behavior.

       19.     Ms. Watkins accepted that arrangement, and Ms. Davis took the lead at church

services with any rituals and religious materials.

       20.     As part of a standard school day, Aquinas started and ended with prayers.

       21.     Ms. Cochenour led the students in prayer over Aquinas's PA system.

       22.     Mr. Ference had no role in facilitating these prayers.

       23.     As per Watkins's instructions, Mr. Ference taught secular subjects to his students

for the duration of his employment with Aquinas.

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       24.     Ms. Davis handled all religious matters for the sixth-grade students.

       25.     On September 28, 2021, Dr. Maureen Marsteller, Defendant's Superintendent of

Catholic Schools, informed Mr. Ference that Defendant terminated his employment because he is

in a same-sex relationship.

       26.     Defendant learned of that fact from Mr. Ference's disclosure on his election to

waive group medical insurance.

       27.     As a result of Defendant’s conduct, Plaintiff has suffered substantial mental

anguish, emotional distress, and economic damages.

                                  V.       CLAIMS FOR RELIEF

                     COUNT I – VIOLATION OF TITLE VII – TERMINATION

       28.     Plaintiff incorporates by reference the averments contained in all preceding

paragraphs as if fully set forth herein.

       29.     Defendant has intentionally and willfully engaged in a series of unlawful acts in

discriminating against Plaintiff with respect to compensation, terms, conditions, or privileges of

employment in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.

       30.     Defendant’s decision to terminate Plaintiff was induced by its intent to

discriminate against Plaintiff based on his sexual orientation.

       31.     Plaintiff has been directly harmed as a result of Defendant’s violations as is fully

set forth above.




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                                     PRAYER FOR RELIEF


    WHEREFORE, Plaintiff respectfully prays that this Honorable Court will:

    (a)      Assume jurisdiction herein;

    (b)      Declare Defendant’s conduct to be unlawful and an intentional violation of
             Plaintiff’s rights;

    (c)      Award Plaintiff wage loss damages, including back pay, front pay, and lost future
             earnings, damages associated with the increased tax burden of any award, and lost
             fringe and other benefits of employment;

    (d)      Award Plaintiff compensatory and punitive damages;

    (e)      Award Plaintiff pre- and post-judgment interest;

    (f)      Award Plaintiff costs and attorney’s fees; and

    (g)      Grant such other relief as the Court deems just and appropriate.




JURY TRIAL DEMANDED                                       Respectfully Submitted,


                                                              /s/ Nicholas W. Kennedy
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